
28 Mich. App. 608 (1970)
184 N.W.2d 539
PEOPLE
v.
WALTON
Docket No. 9846.
Michigan Court of Appeals.
Decided December 8, 1970.
Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, William L. Cahalan, Prosecuting Attorney, Dominick R. Carnovale, Chief, Appellate Department, and Thomas R. Lewis, Assistant Prosecuting Attorney, for the people.
Carl Ziemba, for defendant on appeal.
Before: HOLBROOK, P.J., and R.B. BURNS and FITZGERALD, JJ.
*609 PER CURIAM.
The people move to affirm (GCR 1963, 817.5[3]) defendant's conviction, on plea of guilty, of larceny from a person, contrary to MCLA § 750.357 (Stat Ann 1954 Rev § 28.589).
On appeal, defendant, a 20-year-old first offender at the time of this conviction, contends that the 7-1/2 to 10 year sentence imposed by the court violates the indeterminate sentence law, MCLA § 769.8 (Stat Ann 1954 Rev § 28.1080).
This Court will not review a sentence which is within the maximum provided by statute, except in a clear case where the court has failed to exercise sound judicial discretion in setting a minimum sentence. People v. Lessard (1970), 22 Mich App 342. We find no abuse of discretion in this case. Certainly the sentence in this case, unlike the sentence in Lessard, permits the parole board to exercise its statutory discretion.
Motion to affirm is granted.
